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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Bernadette Clyburn
                               Plaintiff,
v.                                                 Case No.: 1:21−cv−05251
                                                   Honorable Matthew F. Kennelly
Ford Motor Company
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 22, 2021:


        MINUTE entry before the Honorable Matthew F. Kennelly: Defendant's motion to
strike plaintiff's complaint is entered and continued generally. Defendant's motion for a
status conference is granted [3]. The case is set for a telephonic status hearing on
11/8/2021 at 9:15 AM. The following call−in number will be used for the hearing:
888−684−8852 conference code 746−1053. The following persons must call in for the
status hearing: plaintiff Bernadette Clyburn and counsel for defendant Ford Motor Co.
Mailed notice. (mma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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